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Joyce W. Lindauer
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Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
ATTORNEY FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                  §
                                        §
PREFERRED READY-MIX LLC,                §        CASE NO. 21-33369
                                        §
        Debtor.                         §              Chapter 11


    DEBTOR PREFERRED READY-MIX LLC’S OBJECTION TO CLAIM OF RAY
                      YOUNG JR. (CLAIM NO. 11)

        THIS IS AN OBJECTION TO YOUR CLAIM. THIS OBJECTION ASKS
        THE COURT TO DISALLOW THE CLAIM THAT YOU FILED IN THIS
        BANKRUPTCY CASE. IF YOU DO NOT FILE A RESPONSE WITHIN 30
        DAYS AFTER THE OBJECTION WAS SERVED ON YOU, YOUR CLAIM
        MAY BE DISALLOWED WITHOUT A HEARING.
        A HEARING HAS BEEN SET ON THIS MATTER ON APRIL 22, 2022 AT
        11:00 A.M. BEFORE THE HONORABLE JEFFREY P. NORMAN, UNITED
        STATES      BANKRUPTCY    COURT,    515   RUSK   AVENUE,
        COURTRROM 403, HOUSTON, TEXAS 77002.




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TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

        COMES NOW Preferred Ready-Mix LLC, Debtor herein (“Debtor”), and files this its

Objection to Claim of Ray Young Jr., and would respectfully show this Court as follows:

                                          I. JURISDICTION
        1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (B).

        2.       Venue is proper pursuant to 28 USC § 1408 and 1409.

                      II. FACTUAL AND PROCEDURAL BACKGROUND

        3.       On October 14, 2021 (“Petition Date”) the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code 11 U.S.C. §§ 101 et seq. (the

“Bankruptcy Code”).

        4.       The Debtor’s plan of reorganization has not yet been confirmed.

        5.       Ray Young Jr. (the “Claimant”) filed proof of claim no. 11 in the Debtor’s case in

the amount of $3,172.68 (the “Claim”). The Claim is alleged to be a priority claim. A true and

correct copy of the proof of claim is attached hereto as Exhibit “A.”

                                      III. OBJECTIONS TO CLAIM

        6.       The Debtor objects to the Claim for the following reasons:

                 a.      The Debtor objects to the Claimant’s characterization of the Claim as a

        priority claim. Claimant is not entitled to any wages, salaries, or commissions earned

        within 180 days before the bankruptcy petition was filed.

                 b.      The Debtor objects to the Claim in its entirety as the Debtor has paid any

        wages, salaries, or commissions earned by Claimant. The Claimant was employed by

        Debtor for approximately one week and was paid for every hour worked that week.



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                   c.     Claimant arrived at work after the first week under the influence and was

        immediately let go by Debtor. Substance abuse during work would cause a major safety

        issue for Claimant as well as other employees. Showing up for work in such a state was

        immediate grounds for termination.

        7.         Based on the foregoing, the Debtor objects to the allowance of any part of the

Claim. The Affidavit of Robert Foran is attached hereto as Exhibit “B” and verifies this Objection.

        WHEREFORE, PREMISES CONSIDERED, the Debtor requests the Court to enter an

order disallowing the Claim and granting such other and further relief to which the Debtor may be

justly entitled.

        Dated: March 8, 2022.

                                                       Respectfully submitted,

                                                         /s/ Joyce W. Lindauer
                                                       Joyce W. Lindauer
                                                       State Bar No. 21555700
                                                       Joyce W. Lindauer Attorney, PLLC
                                                       1412 Main St. Suite 500
                                                       Dallas, Texas 75202
                                                       Telephone: (972) 503-4033
                                                       Facsimile: (972) 503-4034
                                                       ATTORNEYS FOR DEBTOR




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                                      CERTIFICATE OF SERVICE
        This is to certify that on March 8, 2022, a true and correct copy of the foregoing document
was served via email pursuant to the Court’s ECF system upon the parties receiving electronic
notice in this case listed below. The Claimant was served by United States first class certified
mail, return receipt requested, at the address listed below.

VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Ray Young Jr.
The Ventress Firm, P.C.
1322 Space Park Dr., Ste C222
Houston, TX 77058


VIA ECF

Robert W Berleth
rberleth@berlethlaw.com

Allison D Byman
adb@bymanlaw.com, adb@trustesolutions.net; rww.trustee1@gmail.com;
cadb11@trustesolutions.net; rah@bymanlaw.com

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Brendon D Singh
Bsingh@ts-llp.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

Lisa Elizabeth Ventress
lisa@theventressfirm.com




                                                   /s/ Joyce W. Lindauer
                                                 Joyce W. Lindauer




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  Fill in this information to identify the case:

  Debtor 1               Preferred Ready - Mix LLC
                        __________________________________________________________________


  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                              Souther District
  United States Bankruptcy Court for the: ______________________ District of __________   Texas
                                                                                          (State)
  Case number            21-33369
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     12/15

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current                 Ray Young Jr.
   creditor?                          ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                         No
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      The Ventress Firm, P.C.
                                      _____________________________________________________                       The Ventress Firm, P.C.
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                      1322            Space Park Dr. Ste C222
                                      ______________________________________________________                      1322            Space Park Dr. Ste. C222
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street

                                       Houston                           Texas
                                      ______________________________________________________        77058         Houston                    Texas                  77058
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone    832-240-4365
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email
                                                        Lisa@theventressfirm.com
                                                        ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                 No
   one already filed?
                                         Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone                 No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?            3,172.68
                                   $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Unpaid Wages
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




                                                                                                                                              242
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check all that apply:                                                                                    Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $2,775* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $12,475*) earned within 180 days before the
                                                                                                                                                   3172.68
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/16 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts     I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                                    12/14/2022
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                    Lisa                                                                       Ventress
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                   Attorney
                                                         _______________________________________________________________________________________________

                                  Company                 The Ventress Firm, P.C.
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                 1322              Space Park Dr. Ste. C222
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                          Houston                                                     TX             77058
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone           (832)240-4365
                                                         _____________________________                                Email
                                                                                                                                     lisa@theventressfirm.com
                                                                                                                                     ____________________________________




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                                          EXHIBIT "B"
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